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                      IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS

 O. DOE; BRAZILIAN WORKER CENTER, INC.;
 LA COLABORATIVA,

                              Plaintiffs,

                       v.
                                                                Civil Action No. 25-10135
 DONALD J. TRUMP, in his official capacity as
 President of the United States; U.S. DEPARTMENT
 OF STATE; U.S. SOCIAL SECURITY
 ADMINISTRATION; MARCO RUBIO, in his
 official capacity as Secretary of State; MICHELLE
 KING, in her official capacity as Acting
 Commissioner of U.S. Social Security
 Administration,

                                Defendants.



                     MOTION TO PROCEED PSEUDONYMOUSLY

       Plaintiff O. Doe, through her undersigned counsel, respectfully requests that this Court

grant her Motion to Proceed Pseudonymously in this action and, pursuant to Fed. R. Civ. P. 52 and

Local Rule 5.2, enter an Order permitting all documents containing identifying information to be

filed under permanent seal to be viewed by the Court in camera, with redacted versions made part

of the public record, or in the alternative, to be designated Attorneys’ Eyes Only and accessible

only by the Court.

Dated: January 21, 2025                             Respectfully submitted,

                                                    /s/ Oren Sellstrom
                                                    Oren Sellstrom (BBO #569045)
                                                    Iván Espinoza-Madrigal (BBO # 708080)
                                                    Jacob Love (BBO #699613)
                                                    Mirian Albert (BBO #710093)
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  PLAINTIFF O. DOE’S MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S
                MOTION TO PROCEED PSEUDONYMOUSLY

                                        INTRODUCTION

       Plaintiff O. Doe seeks authorization to proceed under a pseudonym in this litigation. O.

Doe is an immigrant living in the United States who is neither a citizen nor lawful permanent

resident in the United States. She is an expectant mother whose baby is due on March 2025. At

issue in this case is Defendant Donald Trump’s issuance of an Executive Order (the “EO”), which

declares that individuals born in the United States without at least one parent who is a citizen or

LPR are not United States citizens and directing federal agencies not to recognize them as such.

For the reasons explained below, Plaintiff and her family members will only be safe if she is

allowed to move forward under a pseudonym. Additionally, granting this motion would avoid

creating a chilling effect on similarly situated individuals who might pursue litigation in the future.

                                      LEGAL STANDARD

       The First Circuit has held that “[l]itigation by pseudonym should occur only in exceptional

cases.” Doe v. Mass. Inst. Of Tech., 46 F.4th 61, 71 (1st Cir. 2022) (internal citations and

quotations omitted). Courts considering motions to proceed pseudonymously “should balance the

interests asserted by the movant in favor of privacy against the public interest in transparency,

taking all relevant circumstances into account.” Id. at 72. Generally, in doing so, courts in this

District should “focus upon the extent to which the facts align with one or more” of four paradigms

the First Circuit has identified as exceptional. Id. Those paradigms are: (1) cases involving “a

would-be Doe who reasonably fears that coming out of the shadows will cause him unusually

severe harm (either physical or psychological)”; (2) “cases in which identifying the would-be Doe

would harm innocent non-parties”; (3) “cases in which anonymity is necessary to forestall a
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chilling effect on future litigants who may be similarly situated”; and (4) “suits that are bound up

with a prior proceeding made confidential by law.” Id. (internal citations and quotations omitted).

                                          ARGUMENT

       This case aligns with three of the four paradigms of exceptional cases. First, Plaintiff

reasonably fears unusually severe harm, harassment, and stigma if her identity is revealed. This

matter is politically fraught in the United States and Plaintiff fears that, particularly due to her

vulnerable immigration status, and the vulnerable immigration status of her family members,

revealing her identity will immediately expose them to violence, threats of violence, and severe

public and government backlash that would be, at minimum, psychologically traumatizing and

personally destabilizing. See Alianza Americas et al. v. DeSantis et al., 1:22-cv-11550 (D. Mass.

2022) (Order Granting Motion to Proceed Pseudonymously, ECF No. 7) (granting plaintiffs’

motion to proceed pseudonymously under similarly volatile circumstances); see also Doe v.

Austin, No. 2:22-CV-00368, 2023 WL 3568188, at *1 (D. Me. May 19, 2023) (granting leave to

proceed under pseudonyms and noting validity of “fear of harassment and violence”); Doe v.

Lyons, No. 23-10894-NMG, 2023 WL 3936740, at *1 (D. Mass. May 9, 2023) (same); K.O. by &

through E.O. v. United States, 651 F.Supp.3d 331, 343 (D. Mass. 2023) (noting that ECF No. 71

“allowed the plaintiffs to proceed pseudonymously” due to “fears of retaliation” in a case

concerning the federal government’s separation of children from their parents at the U.S. border).

Recent threats of violence toward immigrant communities, as well as angry and fearful responses

to immigrant presence, demonstrate how revealing Plaintiff’s identity will erode her safety.1



1
  See, e.g., Nina Shapiro, Edmonds School District cancels immigrant rights event after threats,
SEATTLE TIMES, Dec. 10, 2024, https://www.seattletimes.com/seattle-news/edmonds-school-
district-cancels-immigrant-rights-event-after-threats/ (reporting “hostile and threatening” posts
toward school district’s immigrant rights event that forced district to cancel event); Dan Gooding,
Springfield, Ohio Elementary Schools Evacuated, Colleges Go Remote as Threats Spiral,
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       Second, revealing Plaintiff’s identity would expose innocent non-parties to harm. It would

allow the media or others to easily uncover the identities of Plaintiff’s family members, either in

the United States or elsewhere, who would then face an immediate risk of retaliatory violence.

Moreover, Plaintiff O. Doe has a seven-year-old son in addition to her baby who is due in less than

two months. She should be granted anonymity to protect her child and soon-to-be-born child who

are, and will be, especially vulnerable and deserving of protection. See Doe v. Eason, No. 98-2354,

1999 WL 33942103, at *3 (N.D. Tex. Aug. 4, 1999) (noting that “[b]ecause a child is especially

vulnerable, courts must assess the issue of anonymity in light of the special vulnerability of the

child whose identity will necessarily be revealed by disclosure of a party's identity”) (cited with

approval by the First Circuit in Mass. Inst. of Tech., 46 F.4th at 71)).

       Third, forcing Plaintiff to reveal her identity as part of this litigation would produce a

chilling effect on potential future litigants who are similarly situated. Plaintiff O. Doe is neither a

citizen nor LPR, making her potentially susceptible to retaliatory immigration enforcement. If

Plaintiff is required to reveal her identity to proceed in this matter, others with vulnerable

immigration status—or no status at all—will be hesitant to seek redress in the courts. See Lozano

v. City of Hazleton, 620 F.3d 170, 195 (3rd Cir. 2010) (considering the fact that “prospective

litigants lacking lawful status, would be deterred from bringing cases clarifying constitutional



Newsweek, Sept. 17, 2024, https://www.newsweek.com/pet-eating-claims-bomb-shooting-
threats-schools-springfield-ohio-1954565 (reporting on shooting and bomb threats directed at
Haitian community members at Ohio college); Nikki McCann Ramirez, Springfield Residents
Rocked by Bomb Threats in Wake of Racist Smear Campaign, ROLLING STONE, Sept. 12, 2024,
https://www.rollingstone.com/politics/politics-news/springfield-ohio-bomb-threat-viral-attacks-
migrants-1235101093/ (reporting on violent threats toward Haitian residents of Springfield, Ohio
and city officials); see also Ruby Cramer, A Small Town in Massachusetts Grapples with a New
Shelter        for        Immigrants,      WASH.        POST,        Sept.,     28,        2024,
https://www.washingtonpost.com/nation/interactive/2024/migrant-shelter-norfolk-massachusetts-
immigration-debate/ (reporting on “fear” and “anger” shown by residents in Massachusetts town
in response to proposed immigrant shelter).
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rights, if doing so required alerting federal immigration authorities to their presence” in affirming

grant of pseudonym status), judgment vacated on other grounds by 563 U.S. 1030 (2011).

       These privacy considerations substantially outweigh the public’s interest in the Plaintiff’s

identity. See Ms. Q. v. United States. Immigration and Customs Enforcement, No. 1:18-cv-02409,

2018 WL 10050939, at *3 (D.D.C. Oct. 24, 2018) (finding “public’s interest in the litigants’

identity is de minimis compared to the significant privacy interests of the plaintiffs” in case

involving child and mother asylum seekers who stated they would face a “significant risk of

persecution—including possible physical harm or death” if their identities were revealed). Indeed,

the public has an equally strong interest in protecting the privacy of litigants targeted or harmed

by government action—especially when children are harmed—so as not to deter them from

challenging allegedly unlawful government action in the future. Cf. Bryan C. v. Lambrew, 1:21-

cv-00005-NT, 2021 WL 242422, at *1 (D. Me., Jan. 25, 2021) (noting that the “public has an

interest in protecting the privacy of children in foster care who challenge the system's practices so

as not to deter others from participating in future challenges to the system”).

                                         CONCLUSION

       For the foregoing reasons, Plaintiff respectfully requests that this Court grant her motion

permitting her to proceed pseudonymously in this civil action.

Dated: January 21, 2025                               Respectfully submitted,

                                                      /s/ Oren Sellstrom
                                                      Oren Sellstrom (BBO #569045)
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                                 CERTIFICATE OF SERVICE

        I hereby certify that, on January 21, 2025, a copy of the foregoing document was filed
electronically. Notice of this filing will be sent by email to all parties by operation of this Court’s
electronic filing system or by mail to anyone unable to accept electronic filing as indicated on
the Notice of Electronic Filing. Parties may access this filing through the Court’s CM/ECF
system.


Dated: January 21, 2025

/s/ Oren Sellstrom
Oren Sellstrom (BBO #569045)
